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                         EXHIBIT A
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                                                                             Article

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                                                                             Cholestatic Jaundice With the Use of
                                                                                                                                                                                         Impact Case Reports
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                                                                             Methylstenbolone and Dymethazine,                                                                            Medical Research
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                                                                             Designer Steroids Found in Super DMZ                                                                         hic.sagepub.com


                                                                             Rx 2.0 “Nutritional Supplement”: A Case
                                                                             Report

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                                                                             and Robert Kirkpatrick III, MD1


                                                                             Abstract
                                                                             “Nutritional supplements” that promise an increase in muscle mass and strength are becoming a go to item as enhancing
                                                                             one’s physical appearance becomes a more important part of our society. This is alarming because many of these nutritional
                                                                             supplements rely on androgen precursors to deliver their promises, without adequately informing consumers of the potential
                                                                             side effects of such agents. These products may conceal the presence of potent androgens to avoid regulatory sanctions and
                                                                             become more appealing to consumers. Recent reports have shown that some products marketed as “nutritional supplements”
                                                                             have been found to contain androgenic anabolic steroids. Methylstenbolone and dymethazine are new androgenic anabolic
                                                                             steroids currently gaining popularity among body builders for their performance-enhancing properties and rapid effects on
                                                                             muscle mass. These agents are found together in Super DMZ Rx 2.0, a “dietary supplement” for bodybuilders. Here we
                                                                             report the first case of Super DMZ Rx 2.0–induced cholestatic jaundice in a 26-year-old previously healthy Caucasian male,
                                                                             who took the supplement according to the manufacturer’s instructions for 30 days.

                                                                             Keywords
                                                                             methylstenbolone, dymethazine, anabolic androgenic steroids, cholestatic jaundice, DILI


                                                                             Introduction                                                       hard, dense, and dry muscular appearance.6 17β-Hydroxy
                                                                                                                                                2α,17β-dimethyl 5α-androstan 3-one azine (dymethazine),
                                                                             A significant percentage of athletes and teenagers use andro-      also currently not a controlled substance in the United States,
                                                                             genic anabolic steroids (AAS) in their everyday lives. In a        is used in body building supplements by manufacturers such
                                                                             study of 718 athletes from 92 Amsterdam fitness centers,           as iForce Nutrition. Dymethazine is a conjugate of 2 methyl-
                                                                             8.2% of the athletes reported using performance-enhancing          drostanolone residues and is very popular for its alleged
                                                                             drugs.1 A study of American teenagers found similar results,       myotropic effects.6 Drostanolone, stenbolone, and “all
                                                                             with 6.6% of 3403 12th-grade students admitting to con-            related compounds” are banned substances on the World
                                                                             sumption of AAS.2,3 In addition, many over-the-counter             Anti-Doping Agency list and thus are banned for sports
                                                                             dietary supplements that do not list AAS as ingredients may        competition.7
                                                                             contain AAS, putting consumers at risk for potential adverse           Super DMZ Rx 2.0 (Blackstone Labs), the “Hardening
                                                                             effects.4 An international study conducted between 2000 and        Stack,” combines 10 mg of methylstenbolone and 10 mg of
                                                                             2001 on 634 nutritional supplements purchased in 13 differ-        dymethazine into a capsule to be taken orally.6 Consumers of
                                                                             ent countries revealed that 15% of putative nutritional sup-       this “dietary supplement” are advised by the manufacturer to
                                                                             plements contain AAS.5                                             take 1 to 2 capsules daily, preferably with food, with 2
                                                                                2,17α-Dimethyl-5α-androsta-1-en-17β-ol-3-one (methyl-
                                                                             stenbolone) is an AAS used by many “bodybuilding supple-
                                                                             ment” manufacturers. It has been compared to Superdrol             1
                                                                                                                                                 Ohio State University, Columbus, OH, USA
                                                                             (methyldrostanolone), a competitor that was recently banned
                                                                                                                                                Corresponding Author:
                                                                             by the Food and Drug Administration. Methylstenbolone is           Priscilla Agbenyefia, Ohio State University College of Medicine, 370 W
                                                                             currently not a controlled substance in the United States. It is   9th Ave, Columbus, OH 43210, USA.
                                                                             very potent and is prized among its users for giving them a        Email: priscilla.agbenyefia@osumc.edu
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capsules being the maximum suggested number of capsules          had decreased to 21.2, with a direct bilirubin of 12.2, ALT of
per day. It is also recommended to use Super DMZ Rx 2.0 in       141, AST of 68, ALP of 116, and INR of 1.0.
cycles, not exceeding 4 weeks of continuous use and with at          The patient was readmitted at OSUWMC on day 59 after
least 8 weeks in between cycles.6                                taking Super DMZ Rx 2.0, for a scheduled liver biopsy, after
   The purpose of this article is to report a case of Super      routine outpatient lab work for acute liver injury 4 days prior
DMZ Rx 2.0–induced cholestatic jaundice in an attempt to         showed total bilirubin of 32, direct bilirubin of 28.9, ALT of
emphasize the toxic effects of methylstenbolone and dymeth-      121, AST of 101, ALP of 218, and an INR of 1.05. On this
azine on the biliary system and hepatocytes.                     admission, he had excessive itching along with unresolved
                                                                 scleral icterus and jaundice. Labs were significant for total
                                                                 bilirubin of 45.9, direct bilirubin of 25.8, ALT of 77, AST of
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                                                                 62, and ALP of 207. INR was 0.9 with a PT of 12.1. The liver
A 26-year-old previously healthy Caucasian male presented        biopsy showed canalicular and hepatocellular cholestasis
to our liver service via the emergency department complain-      with increase in pigmented macrophages. There were scat-
ing of a 2-week history of mild indigestion, dark brown          tered dead hepatocytes and patchy chronic inflammation
urine, and clay-colored stools. He had also experienced jaun-    around the portal vein with lymphocytes, histiocytes, rare
dice for 1 week and pruritus for a few days. Five weeks prior    eosinophils, and neutrophils (see Figure 1). No significant
to presentation, the patient had begun taking Super DMZ Rx       inflammation, steatosis, or fibrosis was present. Bilirubin
2.0. He followed the manufacturer’s instructions, taking 1       decreased to 38.9 a day later and patient was discharged
tablet twice daily for 30 days. The patient denied inappropri-   under stable conditions. His recent total bilirubin is 2.1,
ate dosing of the product or use of any recreational or pre-     approximately 10 weeks after he stopped taking Super DMZ
scription drugs while taking the supplement. At presentation,    Rx 2.0.
his last reported Super DMZ Rx 2.0 consumption was 1
week prior, and his last alcohol intake was approximately 45
days prior.
                                                                 Discussion
   The patient noticed symptoms of dark urine and clay           Four distinct forms of liver injury have been associated with
stool 3 weeks after he began taking the product. He later        AAS, ranging from transient increases in serum enzymes to
developed jaundice by the end of the 4th week of use,            prolonged cholestasis, chronic damage to liver vessels that
whereupon he discontinued the product, presenting to a           result in peliosis hepatitis, and hepatic tumors.8 Consequently,
local emergency department (ED) on the 5th week when his         AAS use can be detrimental to one’s health. This case shows
symptoms failed to resolve. He was discharged from the           methylstenbolone and dymethazine, AAS found in Super
ED but returned 4 days later complaining of worsening            DMZ Rx 2.0, induced cholestasis in a healthy patient who
jaundice and pruritus, at which point he was transferred to      took 1 capsule of the “supplement” twice daily for 30 days as
Ohio State University Wexner Medical Center (OSUWMC).            instructed by the manufacturer.
Outside hospital labs showed alanine transaminase (ALT)             Rise in liver enzymes from AAS induced cholestasis is
of 269, aspartate transaminase (AST) of 154, total bilirubin     usually mild as in this case (see Table 1), with elevations in
of 19.3, direct bilirubin of 16.4, alkaline phosphatase (ALP)    ALT and ALP levels less than 2 to 3 times the upper limits of
of 132, and an international normalized ratio (INR) of 1.0.      normal, or even within normal limits despite the presence of
At OSUWMC, he had an initial ALT of 167, AST of 81,              deep jaundice.8 Typically, AAS-induced cholestasis has an
total bilirubin of 21.8, direct bilirubin of 13, ALP of 112,     insidious onset, as it takes around 1 to 4 months for injury to
and an INR of 1.0. Patient’s social history included prior       the liver to occur after initiating consumption, but can also be
alcohol use varying from 0 to 4 times weekly with 4 to 10        delayed for 6 to 24 months.8 Presenting symptoms include
drinks daily, and tobacco use occasionally. He had no fam-       nausea, fatigue, and pruritus, followed by dark urine and
ily history of liver disease.                                    jaundice.8 Liver biopsy normally shows bland cholestasis
   Vital signs were stable on presentation. The patient had      with minimal inflammation and hepatocellular necrosis,8
moderate scleral icterus and jaundice, but had normal heart,     similar to our findings on liver biopsy (see Figure 1). Bland
lung, abdominal, and neurological exam findings. No stig-        cholestasis is so characteristic of AAS that the diagnosis can
mata of liver failure were appreciated at presentation.          be suspected in a patient taking “supplements” to increase
   Chemistries and complete blood count were within nor-         muscle mass and strength even if AAS is not disclosed on the
mal limits. Urine toxicology screen and acute viral hepatitis    label.8
panel were negative, and right upper quadrant ultrasound and        The patient’s early symptom of dark urine and clay-col-
magnetic resonance cholangiopancreatography were nega-           ored stools followed by pruritus and jaundice about 3 to 4
tive for acute pathology. The patient was admitted for a day     weeks after he began taking Super DMZ Rx 2.0, in addition
and discharged on diphenhydramine with instructions for          to results from liver function tests and liver biopsy, sup-
outpatient follow-up. At first discharge, his total bilirubin    ports a diagnosis of AAS-induced cholestasis. Other causes
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  Figure 1. (A) At scanning magnification, essentially normal hepatic architecture is seen; there is no significant steatosis, inflammation,
  or fibrosis. (B) Cholestasis and mild hepatocellular edema impart a zone of pale discoloration (arc) around the central vein (asterisk),
  in contrast to the normal eosinophilia of the hepatocytes surrounding the portal tract (bracket). The portal tract shows minimal mixed
  chronic inflammation. (C) Under oil immersion, the pale yellow bile pigment is seen within hepatocyte cytoplasm and also as discreet
  canalicular bile plugs. (D) A CK7 immunohistochemical stain highlights the cholestatic hepatocytes surrounding the central vein with
  brown cytoplasmic immunoreactivity (asterisk).


  Table 1. Results of Liver Function Tests, Bilirubin, and INR From Day 35 After First Day of Consuming Super DMZ Rx 2.0 to Day 110.

                                                                                              Total Bilirubin        Direct Bilirubin
  Day            AST (10-34 IU/L)        ALT (10-40 IU/L)        ALP (44-147 units/L)        (0.3-1.9 mg/dL)          (0-0.3 mg/dL)        INR (0.8-1.2)
  Day 35                154                     269                       132                       19.3                   16.4                 1.0
  Day 42                 81                     167                       112                       21.8                   13.0                 1.0
  Day 43                 68                     141                       116                       21.2                   12.2                 1.0
  Day 55                101                     121                       218                       32.0                   28.9                 1.1
  Day 59                 62                      77                       207                       45.9                   25.8                 0.9
  Day 60                 70                      82                       201                       38.7                   23.1                 0.9
  Day 89                138                     174                       268                       17.6                   15.6                 1.0
  Day 110                75                     119                       146                        2.1                    1.4                 1.1

  Abbreviations: AST, aspartate transaminase; ALT, alanine transaminase; ALP, alkaline phosphatase; INR, international normalized ratio.
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of acute liver injury such as viral, ischemic, autoimmune,               Funding
obstructive, and toxic etiologies were evaluated and                     The author(s) received no financial support for the research, author-
excluded in this case. While no re-challenge with Super                  ship, and/or publication of this article.
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it as the culprit, that was the only medication the patient
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was taking, and discontinued use lead to a gradual decrease
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